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                      EXHIBIT A

                     Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    Z GALLERIE, LLC, et al., 1                                       )   Case No. 19-10488 (LSS)
                                                                     )
                                       Debtors.                      )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No.    _____

               ORDER (I) AUTHORIZING THE EMPLOYMENT AND
        RETENTION OF LAZARD FRÈRES & CO. LLC AND LAZARD MIDDLE
         MARKET LLC AS INVESTMENT BANKER TO THE DEBTORS AND
         DEBTORS IN POSSESSION, EFFECTIVE NUNC PRO TUNC TO THE
          PETITION DATE, (II) APPROVING THE TERMS OF THE LAZARD
      AGREEMENT, (III) WAIVING CERTAIN TIME-KEEPING REQUIREMENTS
    PURSUANT TO LOCAL RULE 2016-2(H), AND (IV) GRANTING RELATED RELIEF


             Upon the application (the “Application”) 2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), pursuant to sections

327(a) and 328(a) of the Bankruptcy Code, Bankruptcy Rule 2014(a), and Local Rules 2014-1 and

2016-2(h): (a) authorizing the retention and employment of Lazard Frères & Co. LLC (“Lazard

Frères”) and Lazard Middle Market LLC (“LMM,” and, together with Lazard Frères, “Lazard”) as

investment banker to the Debtors nunc pro tunc to the Petition Date, on the terms set forth in the

Lazard Agreement; (b) approving the terms of the Lazard Agreement; (c) waiving certain time-

keeping requirements pursuant to Local Rule 2016-2(h); and (d) granting related relief, all as more

fully set forth in the Application; and the declaration of Jason A. Cohen (the “Cohen Declaration”)

filed in support of same; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the Debtors’
      service address is: 1855 West 139th Street, Gardena, CA 90249.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
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§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and that the Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue

of this proceeding and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and this Court having found that the relief requested in the Application is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest; and this Court having found

that the Debtors’ notice of the Application and opportunity for a hearing on the Application were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Application and having heard the statements in support of the relief requested therein

at a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Application and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Application is granted to the extent set forth herein.

       2.      In accordance with sections 327(a) and 328(a) of the Bankruptcy Code, Bankruptcy

Rule 2014(a), and Local Rules 2014-1 and 2016-2(h), the Debtors are authorized to employ and

retain Lazard in accordance with the terms and conditions set forth in the Lazard Agreement, as

modified herein, effective nunc pro tunc to the Petition Date.

       3.      The Lazard Agreement, together with all annexes and exhibits thereto and all

compensation set forth therein, including, without limitation, the Monthly Fee, the Financing Fee,

the Restructuring Fee, the Sale Transaction Fee (each as defined in the Lazard Agreement) and the

Indemnification Letter, is approved pursuant to sections 327(a) and 328(a) of the Bankruptcy


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Code. Also, for the avoidance of doubt, the crediting of Monthly Fees shall begin with the Monthly

Fee earned on May 1, 2019.

       4.      In accordance with the terms set forth in the Application and the Lazard Agreement,

the Debtors shall promptly reimburse Lazard for all reasonable expenses incurred by Lazard and

the reasonable fees and expenses of outside counsel, if any, retained by Lazard, without the need

for such legal counsel to be retained as professionals in these chapter 11 cases and without regard

to whether such legal counsel’s services satisfy section 330(a)(3)(c) of the Bankruptcy Code.

       5.      Lazard shall file interim and final fee applications for the allowance of

compensation and reimbursement of expenses pursuant to the procedures set forth in sections 330

and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other applicable

procedures and orders of the Court; provided that Lazard shall be compensated and reimbursed

pursuant to section 328(a) of the Bankruptcy Code and that Lazard’s fees and expenses shall not

be evaluated under the standard set forth in section 330 of the Bankruptcy Code.

       6.      The Debtors are authorized to pay Lazard’s fees and to reimburse Lazard for its

costs and expenses in accordance with, and at the times provided by, the Lazard Agreement, and

none of the fees payable to Lazard shall constitute a “bonus” or fee enhancement under applicable

law.

       7.      Notwithstanding anything to the contrary in the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, orders of this Court, or any guidelines regarding submission and approval

of fee applications, in light of services to be provided by Lazard and the structure of Lazard’s

compensation pursuant to the Engagement Letter, Lazard and its professionals shall be excused

from filing time records in accordance with Bankruptcy Rule 2016(a), Local Rule 2016-2, the

United States Trustee Fee Guidelines, and any otherwise applicable orders or procedures of the


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Court in connection with the services to be rendered pursuant to the Engagement Letter, and shall

instead be required only to maintain time records (in summary format) of its services rendered for

the Debtors in one-half hour increments describing each professional’s tasks on a daily basis in

support of each fee application, including reasonably detailed descriptions of those services and

the individuals who provided those services, and will present such records to the Court.

       8.      Notwithstanding anything in this Order to the contrary, the United States Trustee

for the District of Delaware shall retain all rights to object to Lazard’s fees pursuant to the

Engagement Letter based on the reasonableness standard provided for in section 330 of the

Bankruptcy Code.     This Order and the record relating to the Court’s consideration of the

Application shall not prejudice the rights of the United States Trustee for the District of Delaware

to challenge the reasonableness of Lazard’s fees under section 330 of the Bankruptcy Code.

Accordingly, nothing in this Order or the record relating to the Court’s consideration of the

Application shall constitute a finding of fact or conclusion of law binding on the United States

Trustee for the District of Delaware with respect to the reasonableness of Lazard’s fees. Further,

nothing in the Engagement Letter shall affect or modify the standard of review applicable to an

objection by the Office of the United States Trustee under this paragraph.

       9.      The provisions set forth in the Indemnification Letter are approved, subject during

the pendency of these cases to the following:

               a.      subject to the provisions of subparagraphs (b) and (d), infra, the Debtors are
                       authorized to indemnify, and to provide contribution and reimbursement to,
                       and shall indemnify, and provide contribution and reimbursement to, the
                       Indemnified Persons (as defined in the Indemnification Letter) in
                       accordance with the Indemnification Letter for any claim arising from,
                       related to, or in connection with the services provided for in the Engagement
                       Letter;

               b.      notwithstanding subparagraph (a) above or any provisions of the
                       Indemnification Letter to the contrary, the Debtors shall have no obligation
                       to indemnify Lazard or provide contribution or reimbursement to Lazard (i)
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                      for any claim or expense that is judicially determined (the determination
                      having become final) to have arisen from Lazard’s bad faith, self-dealing,
                      breach of fiduciary duty (if any), willful misconduct or gross negligence,
                      (ii) for a contractual dispute in which the Debtors allege the breach of
                      Lazard’s contractual obligations if the Court determines that
                      indemnification, contribution, or reimbursement would not be permissible
                      pursuant to In re United Artists Theatre Co., 315 F.3d 217 (3d Cir. 2003),
                      or (iii) for any claim or expense that is settled prior to a judicial
                      determination as to the exclusions set forth in clauses (i) and (ii) above, but
                      determined by the Court, after notice and a hearing pursuant to
                      subparagraph (d), infra, to be a claim or expense for which Lazard should
                      not receive indemnity, contribution, or reimbursement under the terms of
                      the Indemnification Letter, as modified by this Order;

               c.     if, during the pendency of the Debtors’ cases, the indemnification is held
                      unenforceable by reason of the exclusions set forth in subparagraph
                      (b) above (i.e., bad faith, self-dealing, breach of fiduciary duty (if any),
                      gross negligence, willful misconduct, or for a contractual dispute in which
                      the Debtors allege the breach of Lazard’s contractual obligations if the
                      Court determines that indemnification would not be permissible pursuant to
                      the United Artists decision) and Lazard makes a claim for the payment of
                      any amounts by the Debtors on account of the Debtors’ contribution
                      obligations, then the proviso beginning with the word “provided” in the
                      second sentence of the second paragraph of the Indemnification Letter shall
                      not apply; and

               d.     if, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                      in these cases (that order having become a final order no longer subject to
                      appeal), and (ii) the entry of an order closing these cases, Lazard believes
                      that it is entitled to the payment of any amounts by the Debtors on account
                      of the Debtors’ indemnification, contribution, and/or reimbursement
                      obligations under the Indemnification Letter, as modified by this Order,
                      including without limitation the advancement of defense costs, Lazard must
                      file an application therefor in this Court, and the Debtors may not pay any
                      such amounts to Lazard before the entry of an order by this Court approving
                      the payment. This subparagraph (d) is intended only to specify the period
                      of time during which the Court shall have jurisdiction over any request by
                      Lazard for compensation and expenses by Lazard for indemnification,
                      contribution or reimbursement and is not a provision limiting the duration
                      of the Debtors’ obligation to indemnify.

       10.     Lazard will apply the $75,000 in retainer amounts received from the Debtors before

the Petition Date first to any prepetition expenses incurred but not reimbursed prepetition, second

to any postpetition expenses and third to Monthly Fees.


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       11.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       12.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Application.

       13.     Notwithstanding anything to the contrary in the Engagement Letter, this Court

retains jurisdiction with respect to all matters arising from or related to the implementation,

interpretation, and enforcement of this Order.


 Dated: ____________, 2019
 Wilmington, Delaware                       THE HONORABLE LAURIE SELBER SILVERSTEIN
                                            UNITED STATES BANKRUPTCY JUDGE




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                       EXHIBIT 1

                    Engagement Letter
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As of January 29, 2019


Z Gallerie Holdings, LLC
Z Gallerie Holding Co., LLC
Z Gallerie, LLC
1855 West 139th Street
Gardena, CA 90249

Attention:     Mark Weinsten
               President & Chief Executive Officer

Dear Mark:

This letter agreement (the “Agreement”) dated as of January 29, 2019 (the “Effective Date of this
Agreement”) confirms the understanding and agreement between Lazard Middle Market LLC
(“LMM”), on the one hand, and Z Gallerie Holdings, LLC (“Holdings”), Z Gallerie Holding Co.
(“Holdco”), LLC and Z Gallerie, LLC (“ZGL” and, collectively with Holdings and Holdco and
any entity formed or used for the purposes set forth herein, the “Company”), on the other.
Assignment Scope:

The Company hereby retains LMM as its sole investment banker to provide the Company with
general financial and restructuring advice and to advise it in connection with any Sale Transaction,
Restructuring and/or Financing (each as defined below) on the terms and conditions set forth
herein. By signing this Agreement, we hereby accept our appointment as investment banker under
the terms hereof.

As used in this Agreement:

 “Sale Transaction” shall mean any transaction or series of transactions involving (a) an
acquisition, merger, consolidation, or other business combination pursuant to which the business
or assets of the Company are, directly or indirectly, combined with another company; (b) the
acquisition, directly or indirectly, by a buyer or buyers (which term shall include a “group” of
persons as defined in Section 13(d) of the Securities Exchange Act of 1934, as amended), of equity
interests or options, or any combination thereof constituting a majority of the then outstanding
stock of the Company or possessing a majority of the then outstanding voting power of the
Company (except as may occur with current Stakeholders as a result of a Restructuring); (c) any
other purchase or acquisition, directly or indirectly, by a buyer or buyers of significant assets,
securities or other interests of the Company or (d) the formation of a joint venture or partnership
with the Company or direct investment in the Company for the purpose of effecting a transfer of a
controlling interest in the Company to a third party. For purposes hereof, any sale of newly issued
securities (including securities held in treasury) shall be deemed a Financing and not a Sale
Transaction.
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 “Restructuring” shall mean, collectively, any restructuring, reorganization (whether or not
pursuant to Chapter 11 of the United States Bankruptcy Code) and/or recapitalization of all or a
significant portion of the Company’s outstanding indebtedness (including bank debt, bond debt,
and other on and off balance sheet indebtedness), trade claims, leases (both on and off balance
sheet), asbestos and other litigation-related claims and obligations, unfunded pension and retiree
medical liabilities, or other liabilities (collectively, the “Existing Obligations”) that is achieved,
without limitation, through a solicitation of waivers and consents from the holders of Existing
Obligations (collectively, the “Stakeholders”); rescheduling of the maturities of Existing
Obligations; a change in interest rates, repurchase, settlement or forgiveness of Existing
Obligations; conversion of Existing Obligations into equity; an exchange offer involving the
issuance of new securities in exchange for Existing Obligations; the issuance of new securities,
sale or disposition of assets, sale of debt or equity securities or other interests or other similar
transaction or series of transactions.

 “Financing” shall mean any transaction or series of transactions involving the public or private
issuance, sale, or placement of newly issued (including securities held in treasury) equity, equity-
linked or debt securities, instruments, or obligations of the Company, including any debtor-in-
possession financing or exit financing in connection with a case under the Bankruptcy Code.

LMM acknowledges that it is the Company’s intention that, to the fullest extent permitted by
applicable law, materials prepared and communications in connection with the services set forth
herein shall be privileged and protected by the work-product privilege, attorney-client privilege,
and other applicable privilege doctrines available pursuant to applicable law. Accordingly, to the
extent permitted by applicable law, the inclusion of LMM in any communications among the
Company’s legal advisers, including Kirkland & Ellis LLP, is not intended to waive the
work-product privilege, attorney-client privilege, and any other privileges or protections.

Description of Services:

       1. LMM agrees, in consideration of the compensation provided in Section 2 below, to
perform such of the following investment banking services as the Company may reasonably
request, including:

               (a)     Reviewing and analyzing the Company’s business, operations and financial
                       projections;

               (b)     Assisting the Company in identifying and evaluating candidates for any
                       potential Sale Transaction, advising the Company in connection with
                       negotiations and aiding in the consummation of any Sale Transaction;

               (c)     Assisting in the determination of a range of values for the Company on a
                       going concern basis;

               (d)     Evaluating the Company's potential debt capacity in light of its projected
                       cash flows;

               (e)     Assisting in the determination of a capital structure for the Company;
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             (f)    Advising the Company on tactics and strategies for negotiating with the
                    Stakeholders and other contract and lease counterparties;

             (g)    Rendering financial advice to the Company and participating in meetings or
                    negotiations with the Stakeholders and/or rating agencies or other
                    appropriate parties in connection with any Restructuring;

             (h)    Advising the Company on the timing, nature, and terms of new securities,
                    other consideration or other inducements to be offered pursuant to any Sale
                    Transaction or Restructuring;

             (i)    Advising and assisting the Company in evaluating any potential Financing
                    transaction by the Company, and, subject to LMM's agreement so to act
                    and, if requested by LMM, to the execution of appropriate agreements, on
                    behalf of the Company, contacting potential sources of capital as the
                    Company may designate and assisting the Company in implementing such
                    Financing;

             (j)    Assisting the Company in preparing documentation within our area of
                    expertise that is required in connection with any Sale Transaction and/or
                    Restructuring;

             (k)    Attending meetings of the Board of Directors of Holdings, Holdco and ZGL
                    with respect to matters on which we have been engaged to advise hereunder;

             (l)    Providing testimony, as necessary, with respect to matters on which we have
                    been engaged to advise hereunder in any proceeding before the Bankruptcy
                    Court; and

             (m)    Providing the Company with other financial restructuring advice.

Fees:

       2. As consideration for the services to be provided, the Company shall pay LMM the
following fees:

             (a)    A monthly fee of $75,000 (the “Monthly Fee”), payable on execution of this
                    Agreement and on the 1st day of each month thereafter until the earlier of
                    the completion of the Sale Transaction, Restructuring or the termination of
                    LMM's engagement pursuant to Section 10 hereof (in each case, prorated
                    for any partial month during the term of this engagement). One-half of all
                    Monthly Fees paid in respect of any months following the third month of
                    this engagement shall be credited (without duplication) against any Sale
                    Transaction Fee, Restructuring Fee or Financing Fee thereafter payable;
                    provided, that, in the event of a Chapter 11 filing, such credit shall only
                    apply to the extent that such fees are approved in entirety by the Bankruptcy
                    Court, if applicable.
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 (b)   (i) If, whether in connection with the consummation of a Restructuring or
       otherwise, the Company consummates a Sale Transaction incorporating all
       or a majority of the assets or all or a majority or controlling interest in the
       equity securities of the Company, LMM shall be paid a fee (the “Sale
       Transaction Fee”) equal to $1.25 million.

       (ii) Notwithstanding clause (i) above, (A) in the event a Sale Transaction is
       consummated without a Chapter 11 proceeding within 45 days of the
       Effective Date of this Agreement in which Mr. Michael Zeiden or any entity
       in which he owns a controlling interest (collectively, “Zeiden”) is the
       acquirer, the Sale Transaction Fee will be reduced to $500,000 and (B) in
       the event a Sale Transaction is consummated without a Chapter 11
       proceeding within 46 - 90 days of the Effective Date of this Agreement in
       which Zeiden is the acquirer, the Sale Transaction Fee will be reduced to
       $1.0 million. For the avoidance of doubt, LMM shall be paid the full Sale
       Transaction Fee if Zeiden consummates a Sale Transaction (i) through a
       Chapter 11 proceeding or (ii) after 90 days of the Effective Date of this
       Agreement.

       (iii) Any Sale Transaction Fee shall be payable upon consummation of the
       applicable Sale Transaction.

 (c)   A fee equal to $1.25 million, payable upon the consummation of a
       Restructuring (the “Restructuring Fee”); provided, however, that if a
       Restructuring is to be completed through a “pre-packaged” or “pre-
       arranged” plan of reorganization, the Restructuring Fee shall be earned and
       shall be payable upon the earlier of (i) execution of definitive agreements
       with respect to such plan and (ii) delivery of binding consents to such plan
       by a sufficient number of creditors to bind the creditors to the plan;
       provided, further, that in the event that LMM is paid a fee in connection
       with a “pre-packaged” or “pre-arranged” plan and a plan of reorganization
       is not consummated, LMM shall return such fee to the Company.

 (d)   A fee, payable upon consummation of a Financing, equal to the amount set
       forth in Schedule I (the “Financing Fee”).

 (e)   For the avoidance of any doubt, more than one fee may be payable pursuant
       to each of clauses (b), (c) and (d) above; provided, that in no event will
       LMM be entitled to both a Sale Transaction Fee and Restructuring Fee.

 (f)   In addition to any fees that may be payable to LMM and, regardless of
       whether any transaction occurs, the Company shall promptly reimburse
       LMM, subject to the approval of the Bankruptcy Court in the event of a
       bankruptcy filing, for all: (A) reasonable expenses incurred by LMM
       (including travel and lodging, data processing and communications charges,
       courier services and other expenditures) and (B) the reasonable fees and
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                       expenses of counsel, if any, retained by LMM. If the Company so requests,
                       LMM shall provide the Company with reasonable documentation of
                       expenses submitted for reimbursement.

               (g)     As part of the compensation payable to LMM hereunder, the Company
                       agrees to the indemnification, contribution and related provisions (the
                       “Indemnification Letter”) attached to this Agreement as Addendum A and
                       incorporated herein in their entirety.

               (h)     All amounts referenced hereunder reflect United States currency and shall
                       be paid promptly in cash after such amounts accrue hereunder.

Retention in Chapter 11 Proceedings:

         3. In the event of the commencement of chapter 11 proceedings, the Company agrees that
it will use best efforts to obtain prompt authorization from the Bankruptcy Court to retain LMM
on the terms and conditions set forth in this Agreement under the provisions of Section 328(a) of
the Bankruptcy Code. Subject to being so retained, LMM agrees that during the pendency of any
such proceedings, it shall continue to perform its obligations under this Agreement and that it shall
file interim and final applications for allowance of the fees and expenses payable to it under the
terms of this Agreement pursuant to the applicable Federal Rules of Bankruptcy Procedure, and
the local rules and order of the Bankruptcy Court. The Company shall supply LMM with a draft
of the application and proposed retention order authorizing LMM’s retention sufficiently in
advance of the filing of such application and proposed order to enable LMM and its counsel to
review and comment thereon. LMM shall be under no obligation to provide any services under
this agreement in the event that the Company becomes a debtor under the Bankruptcy Code unless
LMM’s retention under the terms of this Agreement is approved under section 328(a) of the
Bankruptcy Code by final order of the Bankruptcy Court, which order is acceptable to LMM. The
retention application shall note that in so agreeing to seek LMM’s retention under Section 328(a)
of the Bankruptcy Code, the Company acknowledges that it believes that LMM’s general
restructuring experience and expertise, its knowledge of the capital markets and its merger and
acquisition capabilities will inure to the benefit of the Company in pursuing any Sale Transaction,
Restructuring or Financing, that the value to the Company of LMM’s services hereunder derives
in substantial part from that expertise and experience and that, accordingly, the structure and
amount of the deferred fees, including the Sale Transaction Fee, Restructuring Fee and Financing
Fee is reasonable regardless of the number of hours to be expended by LMM’s professionals in
the performance of the services to be provided hereunder and that the deferred fees shall not be
considered to be “bonuses” or fee enhancements under applicable law.


Other:

        4. No amount payable to any third party, by the Company or any other person or entity,
shall reduce or otherwise affect any amount payable hereunder to us.

       5. The Company will furnish or cause to be furnished to LMM such current and historical
financial information and other information regarding the business of the Company as LMM may
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                                                                          Z Gallerie Holdings, LLC
                                                                       Z Gallerie Holding Co., LLC
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request in connection with this engagement. The Company represents and warrants to LMM that,
to the best of its knowledge, all of the foregoing information will be accurate and complete in all
material respects at the time it is furnished, and agrees to use commercially reasonable efforts to
keep LMM advised of all developments materially affecting the Company or its financial position.
In performing its services pursuant to this Agreement, LMM shall be entitled to rely upon
information furnished to it by the Company or any third party and information that is publicly
available, may assume the accuracy and completeness of such information and shall not assume
any responsibility for independent verification of any such information. LMM will not, as part of
its engagement, undertake any independent valuation or appraisal of any of the assets or liabilities
of the Company or of any third party, or opine or give advice to the Board of Directors, the
Company or management or shareholders with respect thereto or with respect to any issues of
solvency.

        6. In performing its services pursuant to this Agreement, LMM is not assuming any
responsibility for the decision of the Company or any other party to pursue (or not to pursue) any
business strategy or to effect (or not to effect) any Sale Transaction, Restructuring, Financing or
other transaction. LMM shall not have any obligation or responsibility to provide “crisis
management” for or business consultant services to the Company, and shall have no responsibility
for designing or implementing operating, organizational, administrative, cash management or
liquidity improvements; nor shall LMM be responsible for providing or be deemed to have
provided any tax, accounting, actuarial, legal, regulatory or other specialist advice.

       7. It is understood and agreed that nothing contained in this Agreement shall constitute an
express or implied commitment by LMM or any of our affiliates to underwrite, place or purchase
any securities in a financing or otherwise, which commitment shall only be set forth in a separate
underwriting, placement agency or purchase agreement, as applicable, relating to the financing.

        8. Simultaneously herewith, the parties hereto are entering into the Indemnification
Letter. The Indemnification Letter shall survive any termination or expiration of our engagement
hereunder.

       9. In order to coordinate our efforts on behalf of the Company during the period of our
engagement hereunder, the Company will use commercially reasonable efforts to promptly inform
LMM of any discussions, negotiations, or inquiries regarding a potential transaction, including any
such discussions or inquiries that have occurred during the six month period prior to the date of
this Agreement. In the event that LMM receives an inquiry concerning any transaction, we will
promptly inform the Company of such inquiry.

        10. Our engagement hereunder will automatically expire on consummation of a Sale
Transaction or a Restructuring and may be earlier terminated by Holdings, Holdco or ZGL (on
behalf of the Company) or us at any time without liability or continuing obligation to the Company
or us following any termination or expiration only upon written notice by Holdings, Holdco or
ZGL (on behalf of the Company) or us to the other party at any time (and, for the avoidance of
doubt, not by any other action, conduct or event). The foregoing notwithstanding, (a) following
any termination or expiration of our engagement we shall remain entitled to any fees accrued
pursuant to Section 2 but not yet paid prior to such termination or expiration, as the case may be,
and to reimbursement of expenses incurred prior to such termination or expiration, as the case may
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                                                                        Z Gallerie Holding Co., LLC
                                                                                     Z Gallerie, LLC
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be, and (b) in the case of termination by the Company or any expiration of our engagement, we
shall remain entitled to full payment of all fees contemplated by Section 2 hereof in respect of any
Sale Transaction, any Restructuring and any Financing announced or resulting from negotiations
occurring during the period from the date hereof until one year following such termination or
expiration, as the case may be (except that this clause (b) shall not apply if the Company has
terminated our engagement prior to the time at which a Sale Transaction, Restructuring or is
announced or an agreement in principle with respect thereto is reached because we have acted with
bad faith, gross negligence, or willful misconduct in providing the services that are the subject of
this agreement).

         11. LMM has been retained under this Agreement as an independent contractor to the
Company, and nothing herein is intended to confer any rights or remedies as against LMM upon
any person (including the management, Board of Directors, employees, securityholders and
creditors of the Company) other than the Company. In addition, it is understood and agreed that
this Agreement and our engagement do not create a fiduciary relationship between LMM and any
person, including the Company and its management, Board of Directors, employees,
securityholders and creditors. No one, other than senior management or the Board of Directors of
the Company (in their capacities as such) is authorized to rely upon the Company's engagement of
LMM or any statements, advice, opinions or conduct by LMM. Without limiting the foregoing,
any advice, written or oral, rendered in the course of the Company's engagement of LMM are
solely for the purpose of assisting senior management or the Board of Directors of the Company
(in their capacities as such) in evaluating the relevant Sale Transaction, Restructuring or Financing
and does not constitute a recommendation to any stakeholder of the Company that such stakeholder
might or should take in connection with any Sale Transaction, Restructuring or Financing. The
Company agrees that, notwithstanding any termination or expiration of our engagement, any
advice, written or oral, rendered by LMM and the terms of our engagement hereunder may not be
disclosed publicly or made available to third parties without the prior written consent of LMM.
Notwithstanding the foregoing, nothing herein shall prohibit the Company from disclosing to any
and all persons the tax treatment and tax structure of any transaction and the portions of any
materials that relate to such tax treatment or tax structure.

       12. In connection with the services to be provided hereunder, LMM may employ the
services of our affiliates (including Lazard Frères & Co. LLC, and may share with any such entity
any information concerning the Company, provided that LMM and such entities shall hold any
nonpublic information confidential in accordance with their respective customary policies relating
to nonpublic information. Any such entity so employed shall be entitled to all of the benefits
afforded to LMM hereunder and under the Indemnification Letter and shall be entitled to be
reimbursed for its expenses on the same basis as LMM.

        13. The provisions hereof shall inure to the benefit of and be binding upon the successors
and assigns of the Company, LMM and any other person entitled to indemnity under the
Indemnification Letter. The Company’s obligations pursuant to this Agreement shall be joint and
several. This Agreement and the related Indemnification Letter embody the entire agreement and
understanding among the parties hereto and supersede any and all prior agreements, arrangements,
and understandings, related to the matters provided for herein. No waiver, amendment or other
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                                                                           Z Gallerie Holdings, LLC
                                                                        Z Gallerie Holding Co., LLC
                                                                                     Z Gallerie, LLC
                                                                             As of January 29, 2019
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modification of this Agreement shall be effective unless in writing and signed by each party to be
bound thereby.

         14. This Agreement and any claim related directly or indirectly to this Agreement
(including any claim concerning advice provided pursuant to our engagement hereunder) shall be
governed by and construed in accordance with the laws of the State of New York without regard
to the principle of conflicts of law. No such claim shall be commenced, prosecuted or continued
in any forum other than the courts of the State of New York located in the City and County of New
York or the United States District Court for the Southern District of New York, and each of the
parties hereby submits to the jurisdiction of such courts. The Company hereby waives on behalf
of itself and its successors and assigns any and all right to argue that the choice of forum provision
is or has become unreasonable in any legal proceeding. The Company waives all right to trial by
jury in any action, proceeding or counterclaim (whether based upon contract, tort or otherwise)
related to or arising out of this Agreement or the engagement of LMM pursuant to, or the
performance by LMM of the services contemplated by, this Agreement.

                                      [Signature page follows.]
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                                                                       Z Gallerie Holding Co., LLC
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                                                                            As of January 29, 2019
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      If the foregoing Agreement is in accordance with your understanding of the terms of our
engagement, please sign and return to us the enclosed duplicate hereof.


                                             Very truly yours,

                                             LAZARD MIDDLE MARKET LLC

                                             By:
                                                   Jason A. Cohen
                                                   Managing Director


AGREED TO AND ACCEPTED
as of the date first written above.

Z GALLERIE HOLDINGS, LLC


By.
       Mark Weinsten
       President & Chief Executive Officer


Z GALLERIE HOLDING CO., LLC


By.
       Mark Weinsten
       President & Chief Executive Officer

Z GALLERIE, LLC


By.
       Mark Weinsten
       President & Chief Executive Officer
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                                                                         Z Gallerie Holdings, LLC
                                                                      Z Gallerie Holding Co., LLC
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                                          SCHEDULE I


Fees for Financings

        The following table outlines the Financing Fees. For a Financing, the total Financing Fee
shall be calculated by multiplying the applicable fee percentage by the total gross proceeds raised
or committed in each Financing.


                          Funds Raised                              Fee %
                          First Lien Debt                           1.50%
                          Second Lien Debt                          2.50%
                          Unsecured Debt                            3.50%
                          Common Stock                              5.00%
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                         EXHIBIT 2

                    Indemnification Letter
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                                                                        Z Gallerie Holding Co., LLC
                                                                                     Z Gallerie, LLC
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As of January 29, 2019


Z Gallerie Holdings, LLC
Z Gallerie Holding Co., LLC
Z Gallerie, LLC
1855 West 139th Street
Gardena, CA 90249


Attention:     Mark Weinsten
               President & Chief Executive Officer

Dear Mark:

        In connection with our engagement to advise and assist Z Gallerie Holdings, LLC
(“Holdings”), Z Gallerie Holding Co. (“Holdco”), LLC and Z Gallerie, LLC (“ZGL” and,
collectively with Holdings and Holdco and any entity formed or used for the purposes set forth
herein, “you”) with the matters set forth in the engagement letter of even date herewith, you and
we are entering into this letter agreement. It is understood and agreed that in the event that Lazard
Middle Market LLC or any of our affiliates, or any of our or their respective directors, officers,
members, employees, agents or controlling persons, if any (each of the foregoing, including Lazard
Middle Market LLC, being an "Indemnified Person"), become involved in any capacity in any
action, claim, proceeding or investigation brought or threatened by or against any person, including
your securityholders, related to, arising out of or in connection with our engagement, you will
promptly reimburse each such Indemnified Person for its legal and other expenses (including the
cost of any investigation and preparation) as and when they are incurred in connection therewith.
You will indemnify and hold harmless each Indemnified Person from and against any losses,
claims, damages, liabilities or expenses to which any Indemnified Person may become subject
under any applicable federal or state law, or otherwise, related to, arising out of or in connection
with our engagement, whether or not any pending or threatened action, claim, proceeding or
investigation giving rise to such losses, claims, damages, liabilities or expenses is initiated or
brought by you or on your behalf and whether or not in connection with any action, claim,
proceeding or investigation in which you or any such Indemnified Person are a party, except to the
extent that any such loss, claim, damage, liability or expense is found by a court of competent
jurisdiction in a judgment which has become final in that it is no longer subject to appeal or review
to have resulted primarily from such Indemnified Person's bad faith or gross negligence. You also
agree that no Indemnified Person shall have any liability (whether direct or indirect, in contract or
tort or otherwise) to you or your securityholders or creditors related to, arising out of or in
connection with our engagement except to the extent that any loss, claim, damage or liability is
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                                                                            Z Gallerie Holdings, LLC
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found by a court of competent jurisdiction in a judgment which has become final in that it is no
longer subject to appeal or review to have resulted primarily from such Indemnified Person's bad
faith or gross negligence. If multiple claims are brought against any Indemnified Person in an
arbitration related to, arising out of or in connection with our engagement, and indemnification is
permitted under applicable law with respect to at least one such claim, you agree that any
arbitration award shall be conclusively deemed to be based on claims as to which indemnification
is permitted and provided for hereunder, except to the extent the arbitration award expressly states
that the award, or any portion thereof, is based solely on a claim as to which indemnification is not
available.

        If for any reason the foregoing indemnification is held unenforceable (other than due to a
failure to meet the standard of care set forth above), then you shall contribute to the loss, claim,
damage, liability or expense for which such indemnification is held unenforceable in such
proportion as is appropriate to reflect the relative benefits received, or sought to be received, by
you and your securityholders and creditors on the one hand and the Indemnified Persons on the
other hand in the matters contemplated by our engagement as well as the relative fault of
yourselves and such persons with respect to such loss, claim, damage, liability or expense and any
other relevant equitable considerations. You agree that for the purposes hereof the relative benefits
received, or sought to be received, by you and your securityholders and creditors and the
Indemnified Persons shall be deemed to be in the same proportion as (i) the total value paid or
proposed to be paid by or to you and your securityholders and creditors, as the case may be,
pursuant to any transaction (whether or not consummated) for which we have been engaged to
perform investment banking services bears to (ii) the fees paid or proposed to be paid to us in
connection with such engagement; provided, however, that, to the extent permitted by applicable
law, in no event shall we or any other Indemnified Person be required to contribute an aggregate
amount in excess of the aggregate fees actually paid to us for such investment banking services.
Your reimbursement, indemnity and contribution obligations under this agreement shall be joint
and several, shall be in addition to any liability which you may otherwise have, shall not be limited
by any rights we or any other Indemnified Person may otherwise have and shall be binding upon
and inure to the benefit of any successors, assigns, heirs and personal representatives of yourselves,
ourselves, and any other Indemnified Persons.

        You agree that, without our prior written consent (which will not be unreasonably
withheld), you will not settle, compromise or consent to the entry of any judgment in any pending
or threatened claim, action, proceeding or investigation in respect of which indemnification or
contribution could be sought hereunder (whether or not we or any other Indemnified Persons are
an actual or potential party to such claim, action, proceeding or investigation), unless such
settlement, compromise or consent includes an unconditional release of each Indemnified Person
from all liability arising out of such claim, action, proceeding or investigation. No waiver,
amendment or other modification of this agreement shall be effective unless in writing and signed
by each party to be bound thereby. This agreement and any claim related directly or indirectly to
this agreement shall be governed and construed in accordance with the laws of the State of New
York (without giving regard to the conflicts of law provisions thereof). No such claim shall be
commenced, prosecuted or continued in any forum other than the courts of the State of New York
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located in the City and County of New York or the United States District Court for the Southern
District of New York, and each of us hereby submits to the jurisdiction of such courts. You hereby
waive on behalf of yourself and your successors and assigns any and all right to argue that the
choice of forum provision is or has become unreasonable. You (on your own behalf and, to the
extent permitted by applicable law, on behalf of your securityholders and creditors) waive all right
to trial by jury in any action, proceeding or counterclaim (whether based upon contract, tort or
otherwise) related to, arising out of or in connection with this agreement or our engagement. This
agreement shall remain in effect indefinitely, notwithstanding any termination or expiration of our
engagement.

                                     [Signature page follows.]
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                                                                     Z Gallerie Holdings, LLC
                                                                  Z Gallerie Holding Co., LLC
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                                                  Very truly yours,

                                                  LAZARD MIDDLE MARKET LLC


                                                  By___________________________
                                                        Jason A. Cohen
                                                        Managing Director


AGREED TO AND ACCEPTED
as of the date first written above.

Z GALLERIE HOLDINGS, LLC


By.
       Mark Weinsten
       President & Chief Executive Officer


Z GALLERIE HOLDING CO., LLC


By.
       Mark Weinsten
       President & Chief Executive Officer

Z GALLERIE, LLC


By.
       Mark Weinsten
       President & Chief Executive Officer
